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                      United States Court of Appeals
                                  FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                           ____________
No. 23-1157                                                      September Term, 2023
                                                                              EPA-88FR36654
                                                            Filed On: September 25, 2023
State of Utah, by and through its Governor,
Spencer J. Cox, and its Attorney General,
Sean D. Reyes,

                  Petitioner

         v.

Environmental Protection Agency and
Michael S. Regan, Administrator, U.S. EPA,

                  Respondents

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City of New York, et al.,
                  Intervenors
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Consolidated with 23-1181, 23-1183,
23-1190, 23-1191, 23-1193, 23-1195,
23-1199, 23-1200, 23-1201, 23-1202,
23-1203, 23-1205, 23-1206, 23-1207,
23-1208, 23-1209, 23-1211


         BEFORE:           Pillard, Walker*, and Childs, Circuit Judges

                                              ORDER

       Upon consideration of the motions for stay in Nos. 23-1181, 23-1183, 23-1190,
23-1191, 23-1193, 23-1195, 23-1199, 23-1202, and 23-1205, the oppositions thereto,
the replies, and the amicus briefs, it is

        ORDERED that the motions for stay be denied. Petitioners have not satisfied
the stringent requirements for a stay pending court review. See Nken v. Holder, 556


* Judge Walker would stay the federal implementation plan in question.
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No. 23-1157                                              September Term, 2023

U.S. 418, 434 (2009); D.C. Circuit Handbook of Practice and Internal Procedures 33
(2021).


                                     Per Curiam


                                                       FOR THE COURT:
                                                       Mark J. Langer, Clerk

                                               BY:     /s/
                                                       Tatiana Magruder
                                                       Deputy Clerk




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